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                  United States Court of Appeals
                                FIFTH CIRCUIT
                             OFFICE OF THE CLERK
LYLE W. CAYCE                                                TEL. 504-310-7700
CLERK                                                     600 S. MAESTRI PLACE,
                                                                  Suite 115
                                                         NEW ORLEANS, LA 70130

                           February 24, 2023


Mr. Adam Warren Aston
Jackson Walker, L.L.P.
100 Congress Avenue
Suite 1100
Austin, TX 78701

Ms. Katherine Ann Staton
Jackson Walker, L.L.P.
2323 Ross Avenue
Suite 600
Dallas, TX 75201

      No. 23-10168    Naoise Ryan v. n
                      USDC No. 4:21-CR-5-1


Dear Mr. Aston, and Ms. Staton,
We have docketed the petition for writ of mandamus, and ask you to
use the case number above in future inquiries.
Filings in this court are governed strictly by the Federal Rules
of Appellate Procedure. We cannot accept motions submitted under
the Federal Rules of Civil Procedure. We can address only those
documents the court directs you to file, or proper motions filed
in support of the appeal. See Fed. R. App. P. and 5th Cir. R. 27 for
guidance. We will not acknowledge or act upon documents not
authorized by these rules.
All counsel who desire to appear in this case must electronically
file a "Form for Appearance of Counsel" naming all parties
represented within 14 days from this date, see Fed. R. App. P. 12(b)
and 5th Cir. R. 12.     This form is available on our website
www.ca5.uscourts.gov.   Failure to electronically file this form
will result in removing your name from our docket. Pro se parties
are not required to file appearance forms.
ATTENTION ATTORNEYS: Attorneys are required to be a member of the
Fifth Circuit Bar and to register for Electronic Case Filing. The
"Application and Oath for Admission" form can be printed or
downloaded from the Fifth Circuit’s website, www.ca5.uscourts.gov.
Information   on   Electronic   Case   Filing   is  available   at
www.ca5.uscourts.gov/cmecf/.
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ATTENTION ATTORNEYS: Direct access to the electronic record on
appeal (EROA) for pending appeals will be enabled by the U S
District Court on a per case basis. Counsel can expect to receive
notice once access to the EROA is available.      Counsel must be
approved for electronic filing and must be listed in the case as
attorney of record before access will be authorized. Instructions
for accessing and downloading the EROA can be found on our website
at                      http://www.ca5.uscourts.gov/docs/default-
source/forms/instructions-for-electronic-record-download-
feature-of-cm. Additionally, a link to the instructions will be
included in the notice you receive from the district court.
Sealed documents, except for the presentence investigation report
in criminal appeals, will not be included in the EROA. Access to
sealed documents will continue to be provided by the district court
only upon the filing and granting of a motion to view same in this
court.
We recommend that you visit the Fifth Circuit’s website,
www.ca5.uscourts.gov and review material that will assist you
during the appeal process. We especially call to your attention
the Practitioner’s Guide and the 5th Circuit Appeal Flow Chart,
located in the Forms, Fees, and Guides tab.
ATTENTION: If you are filing Pro Se (without a lawyer) you can
request to receive correspondence from the court and other parties
by email and can also request to file pleadings through the court’s
electronic filing systems. Details explaining how you can request
this   are   available    on   the   Fifth   Circuit   website   at
http://www.ca5.uscourts.gov/docs/default-source/forms/pro-se-
filer-instructions. This is not available for any pro se serving
in confinement.
Special guidance regarding filing certain documents:
General Order No. 2021-1, dated January 15, 2021, requires parties
to file in paper highly sensitive documents (HSD) that would
ordinarily be filed under seal in CM/ECF. This includes documents
likely to be of interest to the intelligence service of a foreign
government and whose use or disclosure by a hostile foreign
government would likely cause significant harm to the United States
or its interests. Before uploading any matter as a sealed filing,
ensure it has not been designated as HSD by a district court and
does not qualify as HSD under General Order No. 2021-1.
A party seeking to designate a document as highly sensitive in the
first instance or to change its designation as HSD must do so by
motion. Parties are required to contact the Clerk’s office for
guidance before filing such motions.
Sealing Documents on Appeal: Our court has a strong presumption
of public access to our court’s records, and the court scrutinizes
any request by a party to seal pleadings, record excerpts, or other
documents on our court docket.     Counsel moving to seal matters
must explain in particularity the necessity for sealing in our
court. Counsel do not satisfy this burden by simply stating that
the originating court sealed the matter, as the circumstances that
justified sealing in the originating court may have changed or may
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not apply in an appellate proceeding.     It is the obligation of
counsel to justify a request to file under seal, just as it is
their obligation to notify the court whenever sealing is no longer
necessary.   An unopposed motion to seal does not obviate a
counsel’s obligation to justify the motion to seal.


                                Sincerely,
                                LYLE W. CAYCE, Clerk



                                By: _________________________
                                Melissa V. Mattingly, Deputy Clerk
                                504-310-7719
cc:
      Mr. Anthony Battista
      Mr. Colin Patrick Benton
      Mr. Paul G. Cassell
      Mr. David J. Drez III
      Mr. Jeremy Alan Fielding
      Mr. Benjamin L. Hatch
      Mr. Jeffrey Wallace Hellberg Jr.
      Mr. Alex Lewis
      Mr. Chad E. Meacham
      Ms. Karen S. Mitchell
      Mr. Craig Scott Primis
      Mr. Richard Bratton Roper III
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Provided below is the court’s official caption. Please review the
parties listed and advise the court immediately of any
discrepancies. If you are required to file an appearance form, a
complete list of the parties should be listed on the form exactly
as they are listed on the caption.

                                _________

                           Case No. 23-10168
                                _________

In re: Naoise Connolly Ryan; Emily Chelangat Babu; Joshua Mwazo
Babu; Catherine Berthet; Huguette Debets; Bayihe Demissie; Luca
Dieci; Sri Hartati; Zipporah Muthoni Kuria; Javier de Luis;
Nadia Milleron; Michael Stumo; Chris Moore; Paul Njoroge; Yuke
Meiske Pelealu; John Karanja Quindos; Guy Daud Iskandar Zen S;
Polskie Linie Lotnicze Lot S.A.; Smartwings, a.s.,
                      Petitioners
